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| EXHIBIT C
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Transcript of the Testimony of
Brian J. Queiser

Taken On: June 10, 2008
Case Number: CIV 07-889-PHX-NVW

Case: Angel Juarez Moreno, et al., vs. Bridgestone/Firestone,
Ine., et al.

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1 (Pages 1 to 4)

 

 

  

 

 

 

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moony gpetss stepmaen otra 1 APPEARANCES:
individually and se, surviving) 3 On Behalf of the Plaintiffs:
statutory beneficiaries of )CONFIDSNTIAL 4 SICO, WHITE & BRAUGH, LLP.
ANTONIA DB SANTIAGO CASTILLO, ) PURSUANT TO 5 BY: Roger S. Braugh, Jr., Attorney at Law
deceased; “pleiaeiges, PROTECTIVE ORDER 6 900 Frost Bank Plaza
SRIDGESTONE/FIRESTONE, INC. , Jory 07 $89-PEM Nv 7 802 North Carancahua
BRIDGESTONE FLRESToME NORTH ) DEPOSTTYON oF 8 Corpus Christi, Texas 78470
AMERICAN TIRE, L.L.C., a BRIAN J. QUETSER 9 361/653-3300
Delaware limited iiability ) TAKEN 10
company? BRI DGESTONE AMERICAS} JUNE 10, 2008
aoe ee “18 evade } li On Behalf of the Defendants
CORPORATION, a Japanese 12 Bridgestone/Firestone, Inc.,
CORFORATIONG TK; BACK AND} 13 Bridgestone/Firestone North American Tite,
bons tg OKs SOHN 5 14 L.L.C., Bridgestone Americas Holding, Inc.,
Defendants. } 15 and Bridgestone Corporation:
16 HERRICK, FEINSTEIN LLP
1? BY: Susan T, Dwyer, Attomey at Law
18 2 Park Avenue —
19) New York, New York 10016
20 212/592-1403
21
22 ~~ e
23
24
25
2u ai
1 ane 1 INDEX
2 Videotaped deposition of BRIAN J. QUEISER, 2
3 a witness herein, called by the Plaintiffs for 3
4 Examination pursuant to the Federal Rules of 4 EXAMINATION 5
5 Civil Procedure, taken before me, the 5
6 undersigned, Binnie Purser Martino, a Registered 6
7 Diplomate Reporter, Certified Realtime Reporter 7 Plaintiff's Exhibit | 9
8 and Notary Public in and for the State of Ohio, 8 Plaintiff's Exhibit 2 47
3 pursuant to Notice and agreement of counsel at 9 Plaintiff's Exhibit 3 71
10. the offices of Court Reporters of Akron, Canton 10 Plaintiff's Exhibit 4 183
il. and Cleveland, 221 Springside Drive, Akron, il Plaintiffs Exhibit § 183
12 Ohio, on Tuesday, the 10th day of June, 2008, 12 Plaintiff's Exhibit 6 213
13 commencing at 9:18 o'clock a.m. i3 Plaintiff's Exhibit 7 240
14 nee i4 Plaintiff's Exhibit 8 299
15 15 Plaintiff's Exhibit 9 296
16 16 Plaintiff's Exhibit 10 299
1? 17 Plaintiff's Exhibit 11 318
18 18
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23 23
24 24 a
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AND
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8 (Pages 29 to 32)

 

 

 

 

 

 

   

 

29 3i
i things that you were trying to overcome? 1 form.
2 A. Yeah. They were footprint optimization, 2 THE WITNESS: — A lot of people
3 for instance. - 3 were. And I was part of the company that was
4 Maybe if it makes any sense, you know, 4 focused on trying to figure out what the cause
3 while you are searching for the desired crown 5 was and how to resolve it.
6 — angle of the steel belts, you know, you need ta 6 . BY MR. BRAUGH:
7? achieve yet the kind of footprint shape that you 7  . Asacorporate representative for:
8 are looking for and the mold impacts that. And 8 Bridgestone/Firestone North American Tire, LLC,
2 — since these are both kind of moving targets, you 2 have you ever once admitted that a defect
16 have to utilize the tools that you have, like 10 existed in a tire manufactured by that company?
11 finite element analysis to guide you. 11 A. Well, I believe I have, I have been asked
12 And so that was really where my expertise 12 if have made tire -- particularly examined
13 was, where I tried to provide it, 15 tires and found anything defective about any
14 Q. Was there ever a heat generation problemin £14 tire, similar to questions like you have just
15 the tire? 15 asked me, and J have, yes.
16 MS. DWYER: Objection, form and i6 @Q. Isaid, have you ever testified that a
1? foundation. 17 defect existed in a tire?
18 , THE WITNESS: Not specifically, 18. A. Yes. Ihave given those examples before,
18 no.” 19° yes,
20 BY MR. BRAUGH: 20 Q. Okay. Do you admit, acknowledge and agree
21 Q. What about generally? 21 that defects existed in the recalled Radial ATX
22 MS. DWYER: Same objection. 22 and recalled Wilderness AT tires? ~
23 THE WITNESS: No. I mean, ] 23 MS. DWYER: _ Objection, form and
24 don't have a recollection of a heat generation 24 — foundation.
25 problem. 25 THE WITNESS: Well, in the sense
30 32 it
l BY MR. BRAUGH: i that the one -- the defective conditions that I
2  Q. Was there ever a heat dissipation problem @ am aware of were very isolated and very few, in
3 with the tire? 3 the sense that the entire product lines or tire
4 MS. DWYER: Same objection. 4 sizes, the ones that we recalled, whether they
5 THE WITNESS: No, I don't recall 5 were defective, we could not find that they
6 working on anything like that. & — were, despite all of the research and analysis
7 BY MR. BRAUGH: 7 that we did.
8 Q. You have also, as I understand it, served 8 BY MR. BRAUGH:
3 as a corporate representative for 2 Q, So your belief and view is that there is
10 Bridgestone/Firestone North American Tire, LLC #10 nota design defect in the Radial ATX or
11 with respect to Radial ATX and Wilderness AT Li Wilderness AT tires that were recalled: is that
12 tires; is that correct? 12 true?
13. A... Thave, yes. 13 A. Right, not specifically, that's right.
1 Q. Now, those tires were the subject of 14  Q, But you will admit that they were recalled
15 recalls in the past; is that true? 15° because of an alleged design defect?
16 A. Yes, 16 MS. DWYER: — Objection to form.
i7  Q. And you have testified in cases involving 1? THE WITNESS: Well, they were
i8 those recalled tires, right? 18 recalled because we didn't know what was causing
if A. Yes, yes. 12 aceidents of Ford Explorers. We were faced with
20  Q. You were one of the people, in fact, who 20 a history of accidents that certainly appeared,
2i were working very closely, very dili gently on 21 — inall probability, was going to just continue
22 the ATX and Wilderness AT issue during that 22 toget much worse, And in August of 2000,
23 period of time leading up to the recall and 23 before we knew what the cause or causes of this
24 during the recall; is that true? 24 situation was, we simply wanted to remove the
25 MS. 3. DWYER: Oe ection to the 25 tires from the field. So that is what we did.

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9 {Pages 33 to 36)

 

 

 

 

 

 
    
     

33 35
i BY MR. BRAUGH: 1 BYMR,BRAUGH: |
2 . So if it were up to you, and you had sole 2  Q. You had stated to me that accidents were
3 decision-making authority and could go back in 3 happening with the ATK and Wilderness AT tires,
4 time to the 2000 and 2001 time frame, you would 4 and even though in hindsight and retrospect, you
5 advise the company not to recall the Radial ATX 5 can't go back and find a design defect that
6 . and Wilderness AT tires, correct? 6 would justify recalling all of those millions of
7 MS. DWYER: Objection to the 7 tires, you would still, nonetheless, counsel the
8 form, mischaracterizes his testimony. 8 company to go forward with that recall, even
3 THE WITNESS: = [don't think we $ with the hindsight that you have today, because
10 would change what we did, knowing what we i0 accidents were happening, right?
11 learned, and stili having some questions that, 12 MS.DWYER: — Objection to the
i2 you know, remain unanswered, it would still be 12. form.
i3 very hard to make any other decision than we 13 THE WITNESS: _ If you are
i4 = made, you know, if not for just the benefit of 14 recapping what I said, I think the only thing,
i5 our customers and out of concern for their 15 you know, that I would add to that or try to
16 © safety. 16 explain better is it was the rate of these
i? BYMR. BRAUGH: 1 accidents, it was -- you know, the particular
16 Q. Well, why would you recall nondefective 18 tires that we recalled in August 2000 were among
"19 tires? 19 the most popular and most prolifically produced
20 A, Well, the simple answer is that there were 20 tires ever. And a design defect would be in
21 accidents occurring, and the tires seemed like 21 every one of them by design.
22 the kind of thing that if we simply removed them 22 But it was a very small fraction of a
23 _ and replaced them, we could mitigate the 23 percent of tires that were having failures, and
24 accidents. 24 asmaller fraction of that were vehicles that
25 As time has gone by, I think that that is 25 were having accidents, and it's = the vehicle
34 36
1 debatable, whether -- the success of that could 1 behavior is an integral part of the accident.
2 be debated. 2 You carry a spare tire under the
3 But it was reaily the only choice we had, 3 presumption that if you have a tire failure, you
4 frankly. 4 can apply your spare. You wouldn't carry a
2 Q. So iflcan show you that accidents were 2 spare if it was presumed that if you have a tire -
6 happening with Steeltex tires, you would & failure, you are just going to have an accident,
7 recommend and counsel the company to recall 7 so why bother carrying a spare.
8 those as well? 8 With that in mind, with so few on a
2 MS. DWYER: Objection to the 9 percentage basis, we certainly weren't looking
10 form, foundation. iG ata design defect, we were looking at something
Ti THE WITNESS: Well, we know as a 11 far more complex, which was really -- the sum of
12 tire company that when tires fail, accidents can 12 it is that it was a complex issue with no easy
i3 happen, I think we evaluate it, as does the 13 solution, beyond making it stop as well as --
14 Government, on a basis of whether the accidents 14 best we could at that time, which was just
i5 are disproportionate te the experience that we 1 simply te replace tires at that moment and
16 asa tire company have or the industry has. 16 conduct an extensive recall.
17 And it is also fair to say too that Li MR. BRAUGH: — Objection,
id ifa tire failure happens, it is not a given, by 18 — nonresponsive.
i3 any sense, that an accident will occur. 1 BY MR. BRAUGH:
29 So those factors all have to be taken 29  Q. Would it be true and fair of me to say that
21 into account, as you assess a tire's product 21 you have never once in your life testified that
22 performance in the field. 22 a design defect existed in any
23 MR. BRAUGH: = Objection, 23 Firestone-manufactured tire?
‘24 — nonresponsive, 24 A, Well, I think that is true. I don't recall
25 25 ever having testified to that,

 

 

   
 

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36 (Pages 141 to 144)
141 143
i ofa nylon cap ply to a particular tire? i going to make to their test requirements, the
2 A, Right. 2 regulatory requirements for passenger and light
3. Q. Which tire was that? 3 truck tires, which they ultimately did.
4 A. Well, we were talking about -- I was 4 But there may be discussion like that
2 thinking about load range Es, so I don't think 5 surrounding those facets,
6 load range Ds ever had any -- they were never -- 5 Q. So give me, if you could, an overview, or I
7? there were no trade specs created for load 7 guess a thumbnail sketch, of why Firestone
8 range Ds, , 8 decided to start putting nylon cap plies in
3  Q. So the tire that eventually got a nylon cap 9 certain load range E Steeltex A/T tires.
10 ply was the load range E Steeltex A/T tire, 10 A. Well, nylon cap plies or cap strips, I
lis correct? ii guess it depended, there was really no one set
i2 A. LT265/75R16, that is what lam thinking of, $12 way, at least I don’t think it ended up being -
13 yes. 13 one set way.
14 Q. Did any other models of Steeltex get cap 14 But the addition of a nylon cap ply ora
15 plies, nylon cap plies at any point in time? 1 cap strip or both was intended to be part of a
16 A. They did. We started a process in -- I i6 process of changes, a number of changes that
17 think we started it as early as late 2000, or 1 were intended to be sure that our products were
18 early 2001, of changing our tire designs, our LT #18 ready when the time came that the regulatory
19 metric tire designs, among others, and I think a i - requirements were going to change.
20 number of -- quite a number of them were 20 We foresaw, for instance, more
21 — Steeltex brands, you know, the different models, [21 restringent -- more restrictive high speed
22 different sizes and models. 22 testing requirements, for instance. Light truck He
23 Q. Was there a study or an internal discussion 23 tires were not required to be tested for high :
24 that took place at Firestone at all that 24 speed by the Federal Government unless they were
25 pertained to the use of nylon cap plies in these 25 14 1/2 inch or lower in rim diameter. So like
142 144]
1 tires? 1 the 16 inck tire in this case was not required
2 A. Well, there was some work done, sure. We 2 to pass a Government high speed test.
3 had to design the changes into the tires. It 3 We saw a Government high speed test coming
4 required new molds, I think, in many cases. 4 down the pike and we didn't know what form it
5 But I am not sure where else to go with 5 would take, but the company wanted to be
& that. 6 prepared for just about any contingency, so that
7  Q. Aside from the documentation of the changes 7 there would be no disruption to our tire
8 to the specs themselves and redesign of the 8 production capabilities.
9 molds and things like that, what internal 9 We started with trade tires first, because
19 discussion took place regarding the decision 10 that is where we have the most flexibility. We
ii itself to begin using nylon cap plies? 1 don't have to ask a car company if we can change
12 A. I guess | don't recall anything terribly 12 the construction in a trade tire, we can just do
13 specific. There may be documents surrounding 13 itto the trade tire. So we started there.
14 the decision-making process or the initiation 14 And then we did start a process, I believe,
15 of, I guess the way I would put it is an 15 for some of the original equipment tires, we
1 examination of what tires are we producing and 16 approached the car company and said, "We want to
17 which ones are we going to continue to produce 17 begin a conversion process, you know, start a
18 and which ones should we begin the changes to 18 new development process.” That is what we did
19 first. 19 for GM, for instance,
20 I believe we started with trade tires 20 With Ford, frankly, we suspended our
21 first, so I think there is -- my recollection is 21 business with them in May of 2001, so we weren't
22 _ that there are discussions centered around that 22 — focusing on redeveloping product for Ford after
23 aspect of it. 23 that.
24 I know we were concerned about the 24 And with the other OEMs, I guess I would
25 prospective changes that the Government t was 25 have to refresh my Y MEMO i don't remember

 

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A. I sess -- sorry. I Buea | fa am not

 

 
 

37 (Pages 145 to 148)
145 147 ie
1 offhand. We probably actually didn't have any 1 certain, as I sit here. If I had to just -- it
2 other OEMs taking light track tires that } can 2 is more than a guess. But it is probably 2002,
3 think of at the moment. 3 maybe 2003. But I am not entirely certain.
4  Q. So are you saying that the only reason 4 Somewhere in that range.
5 nylon cap plies were added to load range E LT265 > Q. But Firestone would have documents showing
&  S$Steeltex tires, Steeltex A/T tires, was in & the exact date?
7 anticipation of a regulatory change which would 7 A. We would have the specs, sure, and that is
8 add a high speed test to the battery of tests & just what I can remember at the moment.
2 that the tire would have to pass to be sold? 9 ,. Firestone would also have internal
10 A.. Yeah, that is the primary impetus for it, 19 documents that talk about or discuss this change
i1 We had the Government regulatory matter. We 11 to begin using nylon cap plies in these tires?
i also did have a desire to create, I want to say, 12 MS. DWYER: Objection to forra,
13 an equivalent, essentially what we ended up 13 calls for speculation,
i4 referring to global standards for tire 14 THE WITNESS: eil, I know I have
25 construction. 15 — scen some documents that refer to, you know, the
16 Throughout the '90s, we were trying to i types of changes that I have mentioned.
i7 implement a process of making changes to our 17 So, I mean, there are some things.
18 products so that they could have some 18 BY MR. BRAUGH:
19 — interchangeability so that we had more 19 Q. Firestone should have documents talking
20 flexibility in production, tire production. 20 — about the anticipated effect of adding a nyion
al And as the 90s wore on and we were 21 cap ply to tires, such as the load range E
22 — successful at doing that, the economies of scale 22 Steeltex A/T?
23 globally began to be more of a target and we 23 MS. DWYER: Objection; form,
24 wanted to have, particularly with our parent 24 calls for speculation.
25 — eorporation, or even in Europe or South America, 25 THE WITNESS: = [don't know how
146 148 |
i we wanted to have some, I want to say, economies 1 much on point they would be on that. E
2 of scale associated with suppiy of raw a I know we did -- you know, there is
3 materials, whether it is steel cord or body or 3 testing, and I know that the documents -- any
4 nylon, and have standards, certain materials 4 testing documents would probably belie, you
5 that were common among these different markets, 2 know, what the effect was. But I can't think of
6 so that we would have the flexibility of design 6 a decument that I have seen, that I can recall,
7 and manufacture as the decade -- you know, has 7 anyway, that expresses it that way.
8 continued on. 3 BY MR. BRAUGH:
9 So standardization was part of it too. And 2 ©, When a design change such as the addition
i that is why, you know, we started making other 10 of anylon cap ply is anticipated or studied,
11 changes, too, to our tires. 11 costis always a consideration, is it not?
12 For instance, I am not so certain about. 12 MS. DWYER: Objection te the
13 light trock tires, but, for instance, on the 13 form.
i4 passenger car tire side, you know, we started id THE WITNESS: Well, sure. I
15 changing steel cords, for instance, to be more 15 mean, we have to consider material cost. But
16 uniform with our usage of different steel i6 beyond material cost, there is productivity and
i? — throughout ail of our products throughout the 17 efficiency, Those are harder things to put your
18 world. So that was another element to it. i§ finger on, you know, to assess 4 cost.
19 MR. BRAUGH: Objection to the 19 i think for us at the time in 2000 or
20  nomresponsive portions. 29 2001, when we embarked on this, I think the
21 BY MR, BRAUGH: 21 bigger issue for us at the time were molds. And
22 Q. The LT265 load range E Steeltex A/T tires, 22 there is a cost associated with that toc.
23 your testimony is that a nylon cap ply was added 23 You know, we need io have the right
24 to them at what point in time? 24 tooling. We say tooling, but you need to have
25 25

 

the right molds to be able to, you know, even

 

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84 (Pages 333 to 334)

 

 

 

 

 

) SS:
SUMMIT COUNTY, }
i, Binnie Purser Martino, 4 Registered
5 Diplomate Reporter, Certified Realtime Reporter
and Notary Public within and for the State of
6 Olio, duly commissioned and qualified, do hereby
certify that the -within named witness, BRIAN J.
7 QUEISER, was by me drst duly swarm to testify
the truth, the whole truth and nothing but the
& irath in the cause aforevaid: that the testimony
then given by him was by me reduced to Stenotypy
2 in the presence of said witness, afterwards
prepared and produced by means af Computer-Aided
10 Transcription und that the foregoing is 4 true
and correct transcript of the testimony so given
il by hin as aforesaid,
ido further certify that this deposition
12 was taken at the time and place in the
foregoing caption specified, and was completed
13 without adjournment.
Ido flrther certify that I am not a
44 relative, emplayse of or attorney for any party
or counsel, or otherwise financially interested
25 in this action,
Ido farther certify that ] am not, nor is
16 the court reporting drm with whieh | am
affiliated, under a contract as defined in Civil
272 Rude 28(D),
TN WITNESS WHEREOR, } have hereunto set my
18 hand and affixed my seal of office at Akron,
Ohio on this | 8th day of June, 2008.
19
20
21
22
23 __
Binnie Purser Martine, RDR, CRR

24

My commission expires June 27, 2009,

 

 

330-666-9800

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i
2
3 I, BRIAN 3. QUEISER, do verify that Ihave -
4 read the foregoing transcript consisting of 334
5 pages and have had the opportunity to make
6  corrections/changes; and that the foregoing is a
7 true and correct transcript of my testimony
8 given Tune 10, 2008.
9
10  Corrections/Changes Made
1i .
i2 No Corrections/Changes Made
i3
14
15 BRIAN J. QUEISER
16
17 Swom to before me,
Notary Public
18
this day of :
19
20 =
21
Notary Public
22
My commission expires
23
24
bpm
25
334
i CERTIFICATE
5
STATE OF OHIO, }
4 :

 

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